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                      EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 AUTHORS GUILD, et al.
                                                      ECF CASE
                         Plaintiffs,

                v.                                    No. 1:23cv-08292-SHS-OTW
                                                      No. 1:23-cv-10211-SHS-OTW
 OPEN AI INC., et al.,

                         Defendants.


 JONATHAN ALTER, et al.
                                                      DEFENDANT MICROSOFT
                         Plaintiffs,                  CORPORATION’S RESPONSES AND
                                                      OBJECTIONS TO PLAINTIFFS’
                v.                                    SECOND SET OF REQUESTS FOR
                                                      PRODUCTION OF DOCUMENTS
 OPEN AI INC., et al.,

                         Defendants


 DEFENDANT MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO
 PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Microsoft Corporation

(“Microsoft”) responds to Plaintiffs’ Second Set of Requests for Production of Documents

(“Requests”) as follows:

                                       GENERAL OBJECTIONS

       Microsoft’s responses are subject to the following objections to the “Definitions” and

“Instructions” provided with the Requests, each of which is hereby incorporated by reference into

Microsoft’s responses below. If Microsoft objects to a definition of a term and that term is used in

the definition of a subsequent term, Microsoft’s objections to the term used in the subsequent

definition are incorporated by reference therein.
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REQUEST FOR PRODUCTION NO. 76:

       Documents sufficient to identify all individuals involved in copying the “Development

Materials”—as defined in the Second Amended JDCA—for storage in Your secure repository, as

set forth in Section 3(h)(iv) the Second Amended JDCA.

RESPONSE TO REQUEST FOR PRODUCTION NO. 76:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, sufficient to identify

any individuals involved in copying any “Development Materials,” as defined in the Second

Amended JDCA, for storage in any secure repository of Microsoft related to the Relevant

Generative AI Models.

REQUEST FOR PRODUCTION NO. 77:

       All Documents Concerning or Relating to the Data Working Group, as referenced in the

Second Amended JDCA, including but not limited to all Communications among members of,

meeting minutes of, and data policies compiled by the Data Working Group.

RESPONSE FOR REQUEST FOR PRODUCTION NO. 77:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents”

and “all Communications.” Microsoft further objects to this Request as irrelevant and/or vague,

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ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning

Microsoft’s involvement in the Data Working Group as it relates to the Relevant Generative AI

Models.

REQUEST FOR PRODUCTION NO. 78:

       All Documents created in the course of the Governing Board’s—as referenced in the

Second Amended JDCA—duties, including but not limited to meeting minutes, memorandum and

Communications.

RESPONSE TO REQUEST FOR PRODUCTION NO. 78:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case to the extent it requests information related to the

relationship between Microsoft and OpenAI that does not bear any relation to the allegations in

the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning

Microsoft’s involvement in Governing Board as it relates to the Relevant Generative AI Models.




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Dated: September 13, 2024         Respectfully submitted,

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